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                UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:09-cr-11 MP

ROGELIO CABRERA
                                               /

                           ORDER OF DESIGNATION

       The Court finds that pursuant to Rule 604 of the Federal Rules of Evidence, that
VERONICA ARENAS is a language skilled interpreter for the Spanish language, and that
the defendant in this cause is unable to comprehend the English language.
       Therefore, pursuant to the Court Interpreters Act it is:
       ORDERED that VERONICA ARENAS is hereby designated as an interpreter in
this cause to provide the defendant with those services necessary to enable him to
comprehend these proceedings, in the Courtroom or in Chambers; to present his testimony;
to communicate with the presiding judicial officer; to communicate with the probation
officer; or to communicate with counsel in the Courtroom, in Chambers, or in the immediate
environments of the Courtroom in connection with the ongoing proceedings in this case
before the presiding judicial officer.
       DONE and ORDERED this 5th day of November, 2009, nunc pro tunc October
30, 2009.

                                           s/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         Chief United States District Judge
